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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 IN RE: CHINESE-MANUFACTURED DRYWALL                          *
 PRODUCTS LIABILITY LITIGATION                                *
                                                              *           CIVIL ACTION
                                                              *
                                                              *           MDL NO. 2047
                                                              *
                                                              *           SECTION L (5)
 THIS DOCUMENT RELATES TO:                                    *
 Elizabeth Bennett, et al. v. Gebr. Knauf                     *
 Verwaltungsgesellschaft, KG, et al., No. 14-2722             *


                                     ORDER & REASONS


         Pending before the Court is Defendant Knauf Gips KG’s Motion for Summary Judgment,

R. Doc. 22678. Plaintiffs oppose the motion, R. Doc. 22797, and Defendants have filed a reply, R.

Doc. 22773. Having considered the applicable law and the parties’ arguments, the Court now rules

as follows.

    I.        BACKGROUND

         From 2004 through 2006, the housing boom in Florida and rebuilding efforts necessitated

by Hurricanes Rita and Katrina led to a shortage of construction materials, including drywall. As

a result, drywall manufactured in China was brought into the United States and used to construct

and refurbish homes in coastal areas of the country, notably the Gulf Coast and East Coast.

Sometime after the installation of the Chinese drywall, homeowners began to complain of

emissions of foul-smelling gas, the corrosion and blackening of metal wiring, surfaces, and objects,

and the breaking down of appliances and electrical devices in their homes. See In re Chinese-

Manufactured Drywall Prods. Liab. Litig., 894 F. Supp. 2d 819, 829–30 (E.D. La. 2012), aff’d,

742 F.3d 576 (5th Cir. 2014). Many of these homeowners also began to complain of various

physical afflictions believed to be caused by the Chinese drywall.
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       These homeowners then began to file suit in various state and federal courts against

homebuilders, developers, installers, realtors, brokers, suppliers, importers, exporters, distributors,

and manufacturers who were involved with the Chinese drywall. As a result, many homebuilders

also filed suit seeking to recoup their damages. Because of the commonality of facts in the various

cases, this litigation was designated as a multidistrict litigation. Pursuant to a Transfer Order from

the United States Judicial Panel on Multidistrict Litigation on June 15, 2009, all federal cases

involving Chinese drywall were consolidated for pretrial proceedings in MDL 09-2047 before this

Court. Since that date, numerous cases have been consolidated, involving thousands of individua l

claims; over 20,000 documents have been entered into the record, millions of documents have

been exchanged in discovery, depositions have been taken in the United States and in China, and

over thirty Pretrial Orders have been issued; the Court has appointed steering committees and

liaison counsel for plaintiffs, homebuilders, insurers, installers, and manufacturers, and it has

presided over monthly status conferences, hearings, and several bellwether trials.

       The Chinese drywall at issue was largely manufactured by two groups of defendants: (1)

the Knauf Entities and (2) the Taishan Entities. The litigation has focused upon these two entities

and their downstream associates and has proceeded on strikingly different tracks for the claims

against each group.

       A. The Knauf Defendants

       The Knauf Entities are German-based, international manufacturers of building products,

including drywall, whose Chinese subsidiary, Knauf Plasterboard (Tianjin) Co., Ltd. (“KPT”),

advertised and sold its Chinese drywall in the United States. The Knauf Entities are named

defendants in numerous cases consolidated with the MDL litigation and litigation in state courts.



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         The Knauf Entities first entered their appearance in the MDL litigation on July 2, 2009.

Thereafter, the Court presided over a bellwether trial in Hernandez v. Knauf Gips KG, Case No.

09-6050, involving a homeowner’s claims against KPT for defective drywall. The Court found in

favor of the plaintiff family in Hernandez, issued a detailed Findings of Fact and Conclusions of

Law, and entered a Judgment in the amount of $164,049.64, including remediation damages in the

amount of $136,940.46—which represented a remediation cost of $81.13 per square foot based on

the footprint square footage of the house.

         Subsequently, the Knauf Entities agreed to institute a pilot remediation program utilizing

the remediation protocol formulated by the Court from the evidence in Hernandez. The Knauf

pilot remediation program is now completed and has remediated more than 2,200 homes

containing KPT Chinese drywall using the same general protocol.         At the Court’s urging, the

parties began working together to monetize this program and make it available to a broader class

of plaintiffs.

         On December 20, 2011, the Knauf Entities and the PSC entered into a global, class

Settlement Agreement (“Knauf Settlement Agreement”), which was designed to resolve all Knauf-

related, Chinese drywall claims. In addition to the Knauf Settlement Agreement and after a jury

trial in a bellwether case, numerous defendants in the chain-of-commerce with the Knauf Entities

have entered into class settlement agreements, the effect of which settles almost all of the Knauf

Entities’ chain-of-commerce litigation. The total amount of the Knauf Settlement is approximately

$1.1 billion. Thereafter, additional claims were filed against Knauf and others.




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         B. The Bennett Matter

         The instant matter is a purported class action filed on November 13, 2014 by Elizabeth

Bennett in the Northern District of Alabama. 1 Ms. Bennet raised claims on her own behalf and on

the behalf of a nationwide class of similarly situated homeowners who allegedly suffered damages

due to the presence of defective Chinese drywall in their homes. The Plaintiffs raised claims

against the Knauf Entities for negligence, negligence per se, strict liability, breach of express

and/or implied warranty, redhibition, violations of the Louisiana Products Liability Act, private

nuisance, negligent discharge of a corrosive substance, unjust enrichment, violations of consumer

protection laws, and equitable and injunctive relief and medical monitoring with respect to the

manufacture of allegedly defective Chinese drywall. In January 2015, the Judicial Panel on

Multidistrict Litigation transferred the case to the Eastern District of Louisiana and consolidated

it with the In re Chinese Manufactured Drywall Liability Litigation, MLD 09-2047, currently

pending before this Court.

         On October 31, 2019, the Court granted leave for Plaintiffs to add several new Plaintiffs to

the action. R. Doc. 22357. The case now involves 130 affected properties. On that date, the Court

also extended many of the Case Management Order’s deadlines. R. Doc. 22357. With discovery

well underway, the Knauf Defendants have begun to file dispositive motions targeting the claims

of several individual plaintiffs.




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            On January 22, 2020, the Court granted Defendant’s Motion to Deny Class Certification, finding that the
predominance requirement of Rule 23(b)(3) was not satisfied. R. Docs. 22524, 22528. Specifically, the Court noted
that the variety in the individual claims, which included personal injury and property damage claims, theories of
liability, applicable state laws and defenses, and different damage calculations precluded the finding of predominance
necessary to warrant class certification.
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    II.      PENDING MOTION

          Defendant Knauf GIPS KG (“GIPS”) seeks summary judgment of all claims against it in

the Fifth Amended Complaint. R. Doc. 22678-1 at 1. Defendants explain that the Fifth Amended

Complaint alleges the Knauf entities are collectively the “manufacturers of drywall located in

plaintiffs’ homes,” and that GIPS specifically “supervised, operated, trained and otherwise

exercised control of KPT’s operations.” R. Doc. 22678-1 at 5. GIPS argues that summary judgment

is warranted because the Court has previously determined that GIPS was “not involved in the

manufacture, marketing, sale, or distribution of KPT Chinese drywall nor are they responsible” for

it. Id. GIPS contends it never manufactured the drywall at issue nor did it excerpt control over

KPT. Id. at 8. Further, GIPS avers no other Defendant acted as its agent. Id. GIPS argues the Knauf

entities are all legally distinct, and that “only KPT drywall produced the defective Chinese drywall

at issue.” Id.

          Plaintiffs oppose the motion. R. Doc. 22797. Plaintiffs argue that GIPS is a proper

defendant in this action because it functions as KPT’s alter ego. Id. at 6. Plaintiffs also argue that

GIPS has “never been dismissed as a defendant” in any of the lawsuits in this MDL. Id. at 7. In

particular, Plaintiffs note the 2011 global agreement was, upon information and belief, funded by

GIPS, not KPT. Id. at 8. Plaintiff further argue that contrary to GIPS’ assertions, its role in the

distribution and sale of KPT drywall in the United States is well documented. Moreover, Plaintiffs

allege that GIPS has “extensive overlap with its related entities overseas” sufficient to support an

“alter ego” theory of liability. Id. In particular, Plaintiffs cite to purported evidence of (1) contact

with U.S. Markets; (2) business operations in the United States; (3) oversight of other entities by

GIPS; (3) “overlap among the wallboard plant managers and the Knauf Gips, KG corporate

officers present for the Plant Manager Conference in 2005”; overlap between GIPS employees and
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employees at the Knauf Tainjin plant; (6) financial oversight of KPT and other Knauf entities by

GIPS; (7) shipment of materials to the United States; (8) sharing of services between GIPS and

KPT; (9) travel to the United States by GIPS officers. R. Doc. 22797.

           In reply, Defendant re-aver that GIPS never manufactured, marketed, sold, or distributed

KPT Chinese drywall, and stress that Plaintiffs never rebutted that fact. R. Doc. 22833 at 1.

Defendant argues that Plaintiffs failed to raise the alter ego theory of liability in the operative

complaint and cannot be allowed to raise this issue for the first time now. Even if Plaintiffs could

pursue this argument, GIPS argues the allegations “fail as a matter of law to establish alter

ego/Single-Business-Enterprise” liability. Id. at 2.

    III.      LAW & ANALYSIS

    A. Legal Standard – Motion for Summary Judgment

           Summary judgment is appropriate when “the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact and

that the movant is entitled to judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986) (citing Fed. R. Civ. P. 56(c)); Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir.

1994). When assessing whether a dispute as to any material fact exists, the Court considers “all of

the evidence in the record but refrains from making credibility determinations or weighing the

evidence.” Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398 (5th

Cir. 2008).

           Under Federal Rule of Civil Procedure 56(c), the moving party bears the initial burden of

“informing the district court of the basis for its motion, and identifying those portions of [the

record] which it believes demonstrate the absence of a genuine issue of material fact.” Celotex,

477 U.S. at 322. When the moving party has met its Rule 56(c) burden, “[t]he non-movant cannot
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avoid summary judgment . . . by merely making ‘conclusory allegations’ or ‘unsubstantiated

assertions.’” Calbillo v. Cavender Oldsmobile, Inc., 288 F.3d 721, 725 (5th Cir. 2002) (quoting

Little, 37 F.3d at 1075). “The mere existence of a scintilla of evidence in support of the plaintiff's

position will be insufficient; there must be evidence on which the jury could reasonably find for

the plaintiff.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 253 (1986). All reasonable inferences

are drawn in favor of the nonmoving party, but a party cannot defeat summary judgment with

conclusory allegations or unsubstantiated assertions. Little, 37 F.3d at 1075. A court ultimately

must be satisfied that “a reasonable jury could not return a verdict for the nonmoving party.” Delta,

530 F.3d at 399.

    B. Alter Ego/Single Business Enterprise Theory

       Although this MDL involves five different states’ laws, the Court begins with a review of

Louisiana law. “A bedrock principle of corporate law is that ‘a parent corporation . . . is not liable’

for actions taken by its subsidiaries.” Bridas S.A.P.I.C. v. Gov't of Turkmenistan, 447 F.3d 411,

416 (5th Cir. 2006) (citing United States v. Bestfoods, 524 U.S. 51, 61 (1998)). Nevertheless, there

are certain situations in which a court may disregard corporate formalities and “pierce the corporate

veil” in order to extend liability to individual shareholders and/or affiliated entities. Sentry Supply

Inc. v. NLMK N. Am. Plate LLC, No. 2:16-CV-01393, 2019 WL 1388793, at *3 (W.D. La. Mar.

27, 2019). The proponent of veil piercing bears the burden of demonstrating that it is appropriate,

and because Louisiana law disfavors the practice, that burden is usually a heavy one. Veterans

Bros. No. 126, L.L.C. v. 7-Eleven, Inc., No. 16-2034, 2017 WL 345858, at *5 (E.D. La. Jan. 24,

2017) (“If fraud is not alleged, the proponent of piercing the veil bears a heavy burden of proof.”).

       Although Plaintiffs     use the terms “alter ego” and “single            business enterprise”

interchangeably, the terms actually refer to similar but distinct legal doctrines that, if satisfied,
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justify piercing the corporate veil. Alter ego liability typically arises when a plaintiff seeks to hold

individual shareholders liable for the acts or debts or a corporation, and exists where “the

shareholders disregard[] the corporate entity to such an extent that it cease[] to become

distinguishable from them.” Aker Sols., Inc. v. Shamrock Energy Sols., LLC, No. CV 16-2560,

2016 WL 4529828, at *3 (E.D. La. Aug. 30, 2016) (quoting Riggins v. Dixie Shoring Co., 590 So.

2d 1164, 1167 (La. 1991)). In this case, Plaintiffs do not seek to impose liability on any GIPS

shareholders for the actions of KPT; accordingly, the Court will not further consider whether the

alter ego doctrine supports piercing the corporate veil.

        In contrast, the single business enterprise doctrine applies when a plaintiff seeks to impute

liability on a separate but affiliated entity. If a group of affiliated entities acts as a single business,

“a court may disregard the concept of corporate separateness and extend liability to each of the

affiliated corporations for purposes of preventing fraud or achieving equity.” In re Ark-La-Tex

Timber Co., Inc., 482 F.3d 319, 335 (5th Cir. 2007). The single business doctrine is an equitable

one and may accordingly be applied only where adhering to corporate separateness would lead to

an unjust result.

        Whether the two affiliated entities operate as a “single business enterprise” depends on the

following non-exclusive factors: (1) common ownership, (2) common directors and officers, (3)

common employees, (4) common offices, (5) unified administrative control, (6) similar or

supplementary business functions, (7) one corporation financing the other, (8) inadequate

capitalization, (9) one corporation's creation of the other, (10) one corporation paying the salaries,

expenses, or losses of the other corporation, (11) one corporation receiving no business other than

that given to it by the affiliated corporation, (12) shared property, (13) noncompliance with

corporate formalities, (14) services rendered by the employees of one corporation on behalf of
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another corporation, (15) centralized accounting, (16) undocumented transfer of funds between

corporations, (17) unclear allocation of profits and losses between corporations, and (18) excessive

fragmentation of a single enterprise into separate corporations. See Green v. Champion Ins. Co.,

577 So.2d 249, 257–58 (La. Ct. App. 1991). No one factor is dispositive, and the Court must

consider the totality of the circumstances. Bona Fide Demolition & Recovery, LLC v. Crosby

Const. Co. of Louisiana, 690 F. Supp. 2d 435, 444 (E.D. La. 2010) (citing Green, 577 So. 2d at

251–53).

   C. Discussion

       As an initial matter, Plaintiffs did not specifically raise single business enterprise liability

in the operative complaint. Plaintiffs are not entitled to raise new claims for the first time in an

opposition to a motion for summary judgment. See U.S. ex rel. DeKort v. Integrated Coast Guard

Sys., 475 F. App'x 521, 522 (5th Cir. 2012). Nevertheless, Plaintiffs’ complaint does allege that

GIPS “supervised, operated, trained and otherwise exercised control and/or had the right to control

the operations of” the other Knauf entities.” R. Doc. 21334 ¶ 5. It also alleges that “Knauf GIPS

directly controlled through its global family of businesses the importation of problematic/defective

drywall at all times      and provided      oversight   of internal investigations      of sales of

problematic/defective drywall,” and that the Knauf entities collectively acted “without regard to

corporate formalities.” Id. ¶¶ 17, 21. Because Plaintiffs’ currently-proffered single business

enterprise theory of liability is clearly premised on the allegations of operational control and lack

of corporate formalities alleged in the complaint, the Court will consider the argument.

       In support of summary judgment, Defendants have cited affidavits and deposition

testimony demonstrating that GIPS and Knauf Plasterboard (Tainjin) Co., Ltd. (the “KPT Plant”)

are distinct legal entities, with separate bank accounts and different employees. R. Doc. 22678 at
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8; R. Doc. 22678-10 at 3; R. Doc. 22678-3 at 4. Specifically, the deponents and affiants represented

that GIPS is not involved in quality control at the KPT Plant, R, Doc. 22678-2 at 9, and that drywall

manufactured at the KPT plant is not subject to specific standards set by GIPS, id. at 3, nor is GIPS

involved in training any staff at the KPT Plant, id. at 17. Additionally, there is evidence that the

KPT Plant is one of three different plants in China that are each responsible for their own regional

sales and, in some cases, conceivably compete with one another “[o]n the borders where they met.”

Id. at 6–7. In particular, Daniel Gabel, Senior Legal Counsel for Gebr. Knauf KG prepared a

declaration addressing GIPS’ corporate form. R. Doc. 22678-9 at 2. He explained that GIPS is a

German limited commercial partnership with its principal place of business in Iphofen, Germany.

GIPS’s partners are Gebr. Knauf KG and Isogranulat GmbH. R. Doc. 22678-9 at 2. He explained

that GIPS does not design, manufacture, or sell KPT drywall, does not conduct any business related

to Chinese products, and does not own Knauf Plasterboard (Tainjin) Co., Ltd. Id. He further noted

that GIPS “did not and does not control the chain of supply or exert operational control over Knauf

Plasterboard (Tainjin) Co., Ltd.” Id. at 3.

         In an attempt to raise a genuine question of material fact regarding the relationship between

KPT and GIPS, Plaintiffs cite, without any specificity, a 217-page document containing myriad

documents with few distinguishing factors. Many documents contained in the exhibit are

duplicative, illegible, or lacking context. 2 Others are completely irrelevant. 3 Plaintiffs’ opposition



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            For example, the same email chain discussing the presence of “smelly board” in the United States appears
at least eight times in the exhibit. Further, the exhibit is largely comprised on emails with no clarification as to the
identity of the individuals sending and receiving the communications.
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            Plaintiffs appear to confuse the evidence necessary to establish single business enterprise theory for the
purposes of personal jurisdiction and liability. Notably, many documents apparently pertain to GIPS’ “contacts with
US Market,” GIPS’ method of “conducting business in the U.S.,” and GIPS’ “direct shipments of building materials
to the U.S. market.” However, none of these facts are relevant to whether GIPS exerts operational control over the
KPT Plant. Indeed, Defendant concedes that GIPS conducted business in the United States and had contacts there, as
it was a manufacturer and distributer of German drywall in this country. R. Doc. 22833 at 5.
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provides little discussion about these documents. This is a wholly inappropriate method of

introducing summary judgment evidence, as it is not the Court’s job to parse the evidence for

support of Plaintiffs’ position. Nevertheless, in the interest of justice and an attempt to make

headway in this case, the Court will endeavor to decipher the material provided.

        Plaintiffs’ evidence suggests that there is a genuine question of material fact with respect

to whether GIPS and the KPT Plant operate as a single business entity, at least under Louisiana

law. Although the Court’s investigation is frustrated by the fact that the documents are presented

without context and with little indication of who the communications are being sent to and from,

they collectively suggest that GIPS oversaw, and in some instances exerted significant influence

over, the operation of the KPT Plant and other affiliated entities. 4

        As an initial matter, although the corporate structure of the entire Knauf Group has not

been clearly established, it appears as though GIPS oversees the operation of the various Knauf

entities, including the KPT Plant. For example, a PowerPoint presentation discussing GIPS’

structure suggests that the company generates sales from distinct entities that manufacture and

distribute various types of building materials, but that these entities share “marketing,

administrative, finance, purchasing, production, [and] innovation” services. R. Doc. 22797-1 at

148. Additionally, there is evidence that the various Knauf entities were financially intertwined to

the extent that loans are frequently distributed amongst the sister companies. Id. at 70. Further, an

email from Martin Stuermer, who appears to oversee finances for the Knauf entities, discussed




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           Specifically, much of Plaintiffs’ evidence involves emails between officers and employees of the various
Knauf entities. In large part, the identities of the communicants are unclear. However, it appears as though GIPS
employees have email addresses ending in “.de”. See R. Doc. 22797-1 at 50 (email from John Hirth, whose email
address ends in “.de” and whose signature block indicates that he works for Knauf GIPS). The following analysis
relies on this understanding.
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bank records of the Chinese entities and indicated that “to finance further projects in Europe, we

currently collect the money from our subsidiary companies all over the world.” Id.

       The close relationship between the various Knauf entities, including GIPS and the KPT

Plant, is further indicated by emails between officers or employees of the various companies.

Specifically, emails between KPT Plant employees and non-KPT Plant managers indicate that

GIPS employees were kept abreast of developments at the plant. For example, an individual named

Martin Halbach, who appears to be a GIPS employee responsible for overseeing the Chinese

region, was copied on and often engaged in emails discussing routine topics such as the production

schedule at the three Chinese plants, id. at 43, the status of repair and maintenance projects at the

KPT plant, id. at 60, a production stoppage due to a gypsum shortage at the KPT Plant, id. at 21,

and monthly production statistics for the Chinese plants, id. at 22. Although none of these emails

alone indicates that GIPS and the KPT Plant operated as a single business, the constant contact

between GIPS and KPT employees regarding developments and operations at the KPT Plant

indicates a closer relationship than two independent businesses, at least when considered the light

most favorable to Plaintiffs.

       Further, the emails suggest that GIPS exerted significant influence over its subsidiaries’

ability to export drywall to the United States. Numerous emails suggest that the various Knauf

entities developed and implemented a coordinated strategy towards serving the U.S. market. For

example, one email from Baldwin Knauf on behalf of GIPS indicated that a single individual had

been appointed as the “coordinator for all supplies of plasterboards to the United States.” Id. at 47.

Mr. Knauf’s email identifies the three U.S. companies the Knauf entities will supply, as well as

the applicable price basis and payment terms. Id. He specifically instructs the various entities to



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add costs for special packaging and/or transportation to their price quotes, to the extent these

additions are requested. Id.

         This coordinated strategy is reflected in other inter-entity communications, such as a letter

from Barry Toppel, the individual appointed by GIPS to oversee the U.S. market to the managers

of the various plants, discussing the Knauf Group’s “prime strategy” and “controlled strategy for

[its] approach to the [U.S.] market.” Id. at 48. This letter also identifies specific price levels that

“have been established and should be followed” in order to “establish some uniformity.” Id. at 49.

His letter, which concludes, “I hope this clarifies the current position,” indicates that at least with

respect to exports to the United States, the various Knauf entities apparently did not operate as

distinct entities responsible for their own sales or distribution. Id. In sum, these documents reveal

that GIPS was intimately involved in the supply of drywall from its various entities, including the

KPT plant, to the United States, going so far as to dictate who the plants could sell to and on what

terms.

         The managerial relationship between GIPS and the KPT Plant is additionally indicated by

the fact that as soon as a problem with Chinese drywall originating from the KPT Plant was

identified, GIPS officers were informed of the issue and asked to solve it, rather than allowing the

KPT Plant to address the problem on its own. R. Doc. 22797-1 at 9. Specifically, it appears as

though the GIPS employee responsible for overseeing the Chinese region was notified of the

problem immediately and asked whether “we [should] send the Knauf people to USA” to address

the issue. Id. Furthermore, an email sent by a different manager responsible for the Chinese plants

indicated that he did “not want Knauf dragged into a court case,” indicating that responsibility for

the defective drywall would not necessarily fall on KPT’s shoulders alone. GIPS’ involvement in



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the developing defective drywall situation is telling of its control over and responsibility for the

KPT Plant.

        In sum, considering the evidence in the light most favorable to Plaintiffs, which is

appropriate at this stage, the Court concludes that summary judgment is not appropriate on this

issue at this time. In finding that a genuine question of fact exists concerning that organization of

GIPS and its affiliated businesses and the amount of control GIPS had over the KPT Plant, the

Court is cognizant that the purpose of the veil piercing doctrine is to prevent fraud or achieve

equity. Considering the influence GIPS appears to have had over the KPT Plant’s operation, it

would be inappropriate to grant summary judgment and allow GIPS to avoid liability arising from

damage caused by a product if it was intimately involved in the exportation of that product,

especially when GIPS was immediately made aware of the problem and was significantly involved

in its resolution from both a financial and logistical standpoint. Of course, imposing liability on

GIPS is dependent on whether a trier of fact concludes GIPS and the KPT Plant are, in fact, a

single business enterprise. See Verhoeven v. Balboa Ins. Co., No. CIV.A. 06-4891 B(1), 2007 WL

4374222, at *11 (E.D. La. Dec. 13, 2007) (“Whether a group of entities is a single business

enterprise is a question of fact.”).

        Moreover, the Court recognizes that this case involves Louisiana, Mississippi, Alabama,

Texas, and Florida law that may differ on the availability and extent of the corporate veil piercing

doctrine. See, e.g., Taylor v. Tai-Ao Aluminum USA, Inc., No. 6:08-CV-77, 2009 WL 10677717,

at *2 (E.D. Tex. Jan. 29, 2009) (recognizing that the Texas Supreme Court had abrogated the single

business enterprise doctrine). Accordingly, whether and to what extent GIPS can be held liable

under the single business enterprise theory depends on the nuances of each applicable state law

and is a question best resolved by the courts upon remand. Although this Court has determined
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that a question of material fact exists with respect to those cases that will proceed to trial in

Louisiana, Defendants are free to re-urge this motion in the other states at the appropriate time

after the matter is remanded.

   IV.      CONCLUSION

         Based on the foregoing,

         IT IS ORDERED that Defendants’ Motion for Summary Judgment, R. Doc. 22678, is

DENIED.

         New Orleans, Louisiana this 21st day of August, 2020.



                                                          ______________________________
                                                                    Eldon E. Fallon
                                                              United States District Court




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